Case 2:19-cv-10074-PA-RAO Document 164 Filed 11/16/20 Page 1 of 2 Page ID #:99510




    1
    2
    3
    4
    5
    6
    7
    8
    9
   10                         UNITED STATES DISTRICT COURT
   11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
        GIANNI VERSACE S.R.L.,                      __________
   13                                               Case No. 2:19-CV-10074-PA-RAO
   14                          Plaintiff,           ORDER GRANTING VERSACE’S
                                                    APPLICATION TO SEAL
   15                                               DEFENDANT’S JOINT MOTION
                        - against -                 IN LIMINE NO. 4
   16                                               (ECF NO. 98)
        FASHION NOVA, INC. ,
   17                                               Judge: Hon. Percy Anderson
                               Defendant.           Crtrm.: 9A
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
        279839.1                                                     Case No. 2:19-CV-10074-PA-RAO
                                      ORDER ON APPLICATION TO SEAL
Case 2:19-cv-10074-PA-RAO Document 164 Filed 11/16/20 Page 2 of 2 Page ID #:99511




    1        UPON CONSIDERATION of Versace’s Application to Seal Defendant’s
    2 Joint Motion in Limine No. 4 (ECF No. 98) (“Application”), and upon finding good
    3 cause or compelling reasons to seal the document,
    4        IT IS ORDERED THAT the Application, (Dkt. 162), is GRANTED; and
    5        IT IS FURTHER ORDERED THAT the following documents will be sealed:
    6
          Date Filed      Page/Line/Tab                  Document
    7     10/2/2020       Entire Document                Defendant’s Joint Motion in
                                                         Limine No. 4
    8
    9        IT IS FURTHER ORDERED THAT, because the Court previously struck
   10 ECF No. 98 (see ECF No. 153) and because Fashion Nova has already filed an
   11 Amended Joint Motion in Limine No. 4 (ECF No. 156), which is substantively
   12 identical to the original motion and redacts the confidential information Versace seeks
   13 to seal, Versace is not required to refile ECF No. 98.
   14
   15        IT IS SO ORDERED.
   16
   17 DATED: November 16, 2020
   18
   19
                                                           PERCY ANDERSON
   20                                                UNITED STATES DISTRICT JUDGE
   21
   22
   23
   24
   25
   26
   27
   28
                                                 1                 Case No. 2:19-CV-10074-PA-RAO
                                   ORDER ON APPLICATION TO SEAL
